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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              VALDOSTA DIVISION

IGUANA, LLC,                             *

       Plaintiff,                        *

vs.                                      *          CASE NO. 7:08-CV-9 (CDL)

PAUL E. LANHAM, et al.,                  *

       Defendants.                       *


                                   O R D E R

       Presently    pending     before   the    Court    are   two   motions    for

sanctions    filed    by    Plaintiff    Iguana    LLC    (“Iguana”)    and     one

motion to compel filed by Defendants Paul E. Lanham, Charles

Calkins,     and     Kilpatrick     Stockton      LLP     (collectively,        the

“Kilpatrick Defendants”).          As discussed below, Iguana’s motion

for sanctions related to the deposition of Randall Lanham (ECF

No. 153) is denied.           Iguana’s motion for sanctions related to

the belated disclosure of certain evidence by Defendants Federal

Marketing    Service      Corporation    (“FMSC”),      Montgomery    Marketing,

Inc.     (“MMI”)    and    H.   David    Cobb     (collectively,       the     “MMI

Defendants”) (ECF No. 158) is granted to the extent set forth

below.      The Kilpatrick Defendants’ Motion to Compel (ECF No.

156) is granted to the extent set forth below.
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I.    Iguana’s Motion      for     Sanctions   as   to    Randall    Lanham
      Deposition

      Iguana’s   first    motion     for   sanctions     relates    to   two

depositions of Defendant Randall Lanham (“Randall”), which were

scheduled for July of this year but did not occur.                   Iguana

contends that Randall, along with the Kilpatrick Defendants and

the   MMI    Defendants,     committed      sanctionable     conduct     by

intentionally “scuttling” Randall’s depositions.             As discussed

below, the Court disagrees.

      A.    Factual Background

      Iguana wished to depose Randall.         The Kilpatrick Defendants

also wished to depose Randall.        The Kilpatrick Defendants issued

a subpoena for Randall to testify at a deposition in California,

and Randall accepted service of the subpoena.              Pl.’s Mot. for

Discovery Sanctions [hereinafter Sanctions Mot. #1] Ex. 1, Email

from C. Decaire to L. Hatcher, et al., June 15, 2011, ECF No.

153-2; Sanctions Mot. #1 Ex. 2, Subpoena, ECF No. 153-3.                 The

subpoena listed July 15, 2011 as the date for the deposition,

though the subpoena was accompanied by a communication stating

that if July 15 was inconvenient for Mr. Lanham, counsel would

work to find another date.         Id.; Sanctions Mot. #1 Ex. 8, Email

from S. Cohoon to S. Asman, et al., July 8, 2011 at 7:17 PM, ECF

No. 153-9 at 1.     Counsel for the Kilpatrick Defendants notified

Iguana’s counsel and counsel for the MMI Defendants that she




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expected to hear from Randall soon about whether that date was

feasible for Randall.              Sanctions Mot. #1 Ex. 1, Email from C.

Decaire to L. Hatcher, et al., June 15, 2011, ECF No. 153-2.                              On

June 21, 2011, counsel for the Kilpatrick Defendants notified

Iguana’s counsel that she was “trying to confirm that July 15 is

feasible” for Randall’s deposition.                      Kilpatrick Defs.’ Resp. to

Sanctions Mot. #1 Ex. B, Email from C. Decaire to S. Asman, June

21, 2011, ECF No. 155-2.

       Iguana     did   not       wish   to       be     limited    to    the    scope    of

deposition      topics       in    the    Kilpatrick           Defendants’       subpoena.

Therefore, on June 30, 2011, Iguana served Randall with a notice

of deposition for July 14, 2011.1                         Iguana’s counsel did not

contact Randall regarding his availability prior to noticing the

deposition.        On    July      5,    2011,         counsel     for   the    Kilpatrick

Defendants asked Iguana’s counsel if the two depositions could

be consolidated into one day.                     Sanctions Mot. #1 Ex. 5, Email

from   C.   Decaire     to    S.    Asman,        July    5,   2011,     ECF    No.   153-6.

Iguana’s counsel construed this email as “confirmation” of the

July 14 and 15 deposition dates, even though counsel for the

Kilpatrick      Defendants        reminded        Iguana’s     counsel    that    she    had

reached out to Randall to verify that he would be available on

July   15   and    to   “determine       what          California    location     will   be

1
  Iguana apparently mailed the notice on July 30 or July 1, so that it
was received by Randall on Tuesday, July 5. Iguana also sent Randall
a courtesy copy of the notice by email on July 30 or July 1.


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best.”     Id.     Counsel for the Kilpatrick Defendants did not tell

Iguana’s counsel that she had confirmed the date and location of

the   deposition.            Both       Iguana’s       counsel    and    counsel      for   the

Kilpatrick Defendants purchased nonrefundable plane tickets from

Georgia to California in anticipation of Randall’s deposition.

      On    July       8,    2011,        Randall       told     Iguana’s      counsel      via

telephone that he could not attend the depositions on July 14

and   15   because      he        had    prior    commitments.           Iguana’s      counsel

emailed    counsel          for    the     Kilpatrick       Defendants         and    the   MMI

Defendants       to    let        them    know       that   Randall      asked       that   his

depositions be postponed due to conflicts in Randall’s schedule.

Sanctions Mot. #1 Ex. 8, Email from S. Asman to C. Decaire, et

al., July 8, 2011 at 6:51 PM, ECF No. 153-9 at 1.                                     Iguana’s

counsel noted that he had explained to Randall that Iguana was

“unable to change the existing schedule” due to the scheduling

order,     upcoming         depositions          and    travel     arrangements.            Id.

Iguana’s     counsel         also        notified      counsel     for    the    Kilpatrick

Defendants       and    MMI       Defendants         that   he   would     object      to   any

changes to the deposition date unless the Court extended the

discovery deadline, which was August 12, 2011.                           Id.

      The Kilpatrick Defendants’ counsel responded to the email

from Iguana’s counsel and notified him that she had also been

informed by Randall for the first time that day that he was not

available on July 14 or 15.                  Sanctions Mot. #1 Ex. 8, Email from


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S. Cohoon to S. Asman, et al., July 8, 2011 at 7:17 PM, ECF No.

153-9 at 1-2.          Counsel for the Kilpatrick Defendants informed

Iguana’s counsel that Randall said he was available during the

week of July 25, and she suggested that Iguana’s counsel “pick a

weekday”      during     that    week       for     his    deposition,        then     the

Kilpatrick Defendants would schedule their deposition for the

following day.         Id. at 2.           The Kilpatrick Defendants’ counsel

noted that discovery did not close until August 12, that there

was   sufficient       time   for    a     new    deposition     notice      and   a   new

subpoena to be issued, and that it “seems less of a hassle to

everyone concerned if we just get new dates agreed upon and

serve revised notices/issue a new subpoena consistent with those

dates.”      Id.      Iguana’s counsel responded that he had already

made travel plans based on the Kilpatrick Defendants’ subpoena,

that he did not realize the July 14 and 15 dates were flexible,

and   that    he   suggested        they    “leave       the   matter   in    Randall’s

hands.”      Sanctions Mot. #1 Ex. 8, Email from S. Asman to S.

Cohoon, et al., July 8, 2011 at 7:55 PM, ECF No. 153-9 at 3.

Later the same evening, Iguana’s counsel stated that “Iguana’s

plans are fixed, and absent an Order and Extension [from the

Court],      Iguana    will     object       to    any     changes”     to    Randall’s

deposition dates.        Sanctions Mot. #1 Ex. 8, Email from S. Asman

to S. Cohoon, et al., July 8, 2011 at 10:04 PM, ECF No. 153-9 at

4.


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       On July 13, 2011, Iguana’s counsel traveled to California

for Randall’s deposition.2             Neither counsel for the Kilpatrick

Defendants      nor    counsel   for     the    MMI    Defendants      traveled    to

California for the deposition.                Randall did not appear for the

deposition.       None of the parties filed a motion with the Court

regarding       this   issue     until    Iguana       filed     its    motion    for

sanctions.       Although Randall was available for a deposition on

July 27, Iguana refused to agree to a deposition of Randall

before the Court ruled on its motion for sanctions.

       B.    Discussion

       Iguana     contends       that     the      Defendants          intentionally

“scuttled” Randall’s deposition.               Iguana appears to argue that

Randall     should     be   sanctioned     under       Federal   Rules      of   Civil

Procedure 30(g) and 37(d) for failing to attend his deposition

and that the Kilpatrick Defendants and MMI Defendants should

also   be   sanctioned      because     they    were    complicit      in   Randall’s

failure to attend the deposition.

       As a sanction, Iguana requests that Defendants be ordered

to pay all of Iguana’s costs and expenses for the California


2
  On July 13, 2011, Randall’s counsel notified Iguana’s counsel that
Randall would not be present for the deposition on July 14.
Kilpatrick Defs.’ Resp. to Sanctions Mot. #1 Ex. B, Email from C.
Decaire to S. Asman, June 21, 2011, ECF No. 155-2. He also notified
Iguana’s counsel that Randall objected to the deposition notice as
deficient in several respects, and notified Iguana’s counsel that
Randall would be available for the deposition on July 27.   Iguana’s
counsel apparently did not receive the letter until after he was in
transit.


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travel.     Iguana also requests an order excluding any documents

attributed     to    Randall     (except     “admissions”)      and     preventing

Randall     from    testifying    in   this       action.      Finally,      Iguana

contends that the Court should enter a default judgment against

the Kilpatrick Defendants.

      The   Court    declines     to   impose      sanctions.         This   simple

scheduling dispute could have been easily resolved had counsel

for   Iguana   simply    rescheduled        the   deposition    to     a   mutually

convenient time.        Iguana’s counsel has no one but himself to

blame for his decision to travel to California.                 He ignored the

clear indications that the Randall deposition would not take

place on July 14 or 15, and he refused to consider reasonable

alternative dates for the deposition.

      From the very beginning, it was no secret that the July 15

deposition date was not set in stone as Iguana insists it was.

On June 15 and again on June 21 and July 5, counsel for the

Kilpatrick Defendants told Iguana’s counsel that she was trying

to confirm the deposition for July 15 but had not been able to

do so.      It is unclear why Iguana’s counsel would take these

statements as confirmation of the deposition date.                         Moreover,

Iguana’s counsel did not check Randall’s availability before he

noticed Iguana’s deposition of Randall, and he never confirmed

either deposition date with Randall.               Randall himself contacted

Iguana’s counsel a couple days after receiving the deposition


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notice    to    explain         his     schedule            conflicts         and     tell      Iguana’s

counsel that he could not attend the depositions on July 14 and

15.       It    is     difficult           to     understand         how        Iguana’s         counsel

interpreted all of this to suggest that Randall would appear for

a   deposition       on    July       14     or       July    15,    given          that       everything

Iguana’s counsel was told pointed to the contrary.

       After it should have been clear to Iguana’s counsel that

the depositions would not take place on July 14 or 15, Iguana’s

counsel     refused        to     work       with          Randall       to    find        a    mutually

agreeable deposition date.                        And while everyone else tried to

find a date that did not pose a conflict for Randall, Iguana’s

counsel refused to budge.                    Iguana’s counsel inexplicably blamed

the Court’s scheduling order for his resistance to a different

date,    even    though         there       was       more    than   a        month    left       in   the

discovery       period      and       two       weeks       left    to    issue        a       deposition

notice.         This      approach         to     a       simple    scheduling          conflict       by

Iguana’s counsel distracts from the serious issues presented in

this case and conflicts with the Court’s expectations as to how

discovery should be conducted.                        The Court finds that Defendants’

conduct regarding the scheduling of the Randall deposition does

not authorize the imposition of any sanction.                                         At most, they

failed to recognize that there was a communication gap between

what    they     were      telling          Iguana’s         counsel          and     what      Iguana’s

counsel heard.


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      Should Defendants still wish to depose Randall to preserve

his testimony for trial, they shall be permitted to do so, at a

time that is agreeable to Randall and all the parties.3

II.   Iguana’s Motion for Sanctions as to Belated Disclosure of
      Certain Evidence by MMI Defendants

      Unlike Iguana’s first motion for sanctions, Iguana’s second

motion     for    sanctions      raises     serious        and       troubling    issues.

Iguana seeks the ultimate sanction, entry of default judgment

against    the    MMI    Defendants,       for    the    MMI     Defendants’      belated

disclosure       of   certain    evidence        and    lack    of    candor     in   their

response to a direct order from the Court.                       As discussed below,

the Court finds that sanctions are warranted.

      A.     Factual Background

      In    its       Complaint,    Iguana        claims       that    the     Kilpatrick

Defendants published a letter that wrongfully accused Iguana of

willfully infringing U.S. Reissue Patent No. 35,571.                                  Iguana

contends that the MMI Defendants forwarded a copy of that letter

to Patriot Performance Materials, Inc., one of Iguana’s major

suppliers.

      Until quite recently, the MMI Defendants steadfastly denied

that they had sent the letter to Patriot.                         Shortly after this

action     was    filed     in     2008,    the        Court    ordered      Defendants,

3
  The Court recognizes that several summary judgment motions have been
filed in this case. The Court has not yet decided those motions, and
the Court’s decision to permit Randall’s deposition should not be
construed as an indication one way or the other as to the Court’s
position on the merits of those motions.


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including the MMI Defendants, to disclose to Iguana the names

and addresses of all the parties who received the infringement

letter.      TRO Hr’g Tr. 78:21-79:5, Jan. 31, 2008, ECF No. 18;

Order Den. Mot. for TRO, Feb. 1, 2008, ECF No. 10.                      Defendant

Cobb, the president and CEO of MMI and FMSC, provided the Court

with an affidavit stating that he sent the letter to Peter Pfaff

of Glasforms, Inc.         Cobb Aff. ¶ 3, ECF No. 13.           Cobb stated in

his affidavit that he did not send the letter “to any other

person or entity” and that neither MMI nor FMSC had sent the

letter to any other person or entity.               Id. ¶ 4.    This statement

was untrue.      The MMI Defendants continued to deny that they had

sent the infringement letter to Patriot.               E.g., MMI Defs.’ Am.

Answer ¶ 101, ECF No. 128; 2d Am. Compl. ¶ 101, ECF No. 60.

     On May 23, 2011, Iguana served written discovery requests

on the MMI Defendants.            In June of 2011, counsel for the MMI

Defendants     discovered,       based   on   his   examination    of    the   MMI

Defendants’ computer systems, that the MMI Defendants actually

had sent the infringement letter to Patriot.                   Counsel for the

MMI Defendants disclosed this information to Iguana on June 15,

2011.     The Court ordered the MMI Defendants to produce by June

27, 2011 the emails and computer files that revealed the MMI

Defendants’      conduct    in    sending     the   infringement    letter      to

Patriot.      Additionally, Cobb admitted during his deposition that

he had made false representations regarding his involvement in


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sending the infringement letter and that he did so with the

intent to deceive Iguana, the Court and his counsel.

       Due to the MMI Defendants’ intentional misrepresentation,

Iguana contends that it incurred needless expenditures to prove

that   the   MMI     Defendants     actually    did    send    the   infringement

letter to Patriot.         The MMI Defendants admit that Cobb lied to

Iguana    and   to   the   Court.      They     contend,      however,    that   the

misrepresentation had little impact on the case and that the

litigation has not been expanded or meaningfully delayed due to

the misrepresentation, particularly given that Iguana did not

serve any written discovery requests on the MMI Defendants until

May 23, 2011.

       As a sanction for the MMI Defendants’ behavior, Iguana asks

that   the   Court     strike   the    answer    and    defenses     of   the    MMI

Defendants and enter a default judgment against them.                       Iguana

further asks that the MMI Defendants be required to pay Iguana’s

costs associated with proving that the MMI Defendants sent the

infringement letter to Patriot, including the costs arising out

of Iguana’s lawsuit against Patriot.              Iguana argues that many of

the costs incurred in this litigation and “likely the entirety

of the Patriot litigation” could have been avoided if the MMI

Defendants had not made the misrepresentation to Iguana and the

Court.    Pl.’s 2d Mot. for Sanctions 10, ECF No. 158.




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        B.      Discussion

        The   MMI   Defendants       do    not    dispute       that    they       failed        to

comply with the Court’s orders of January 31, 2008 and February

1, 2008 that required the MMI Defendants to disclose to Iguana

the names and addresses of all the parties who received the

infringement letter.              They do not dispute that Cobb lied in his

affidavit.          They     do    not     dispute       that    the    MMI       Defendants

maintained this lie for three years—until June of this year.

The MMI Defendants concede that some sanction is appropriate,

but they argue           that the ultimate sanction of striking their

answer and defenses is not warranted.

        Under    Federal     Rule     of    Civil    Procedure         37(b)(2)(A),              the

Court    may     sanction     a    party    for     failing      to    comply         with       the

Court’s discovery orders.                 Such sanctions may include striking

the     disobedient        party’s       pleadings       and    rendering         a       default

judgment       against     the     disobedient       party.           Fed.    R.       Civ.       P.

37(b)(2)(A)(iii), (vi).              The sanctions may also include ordering

the disobedient party to pay the reasonable expenses caused by

its failure to comply with the discovery order.                         Fed. R. Civ. P.

37(b)(2)(C).           A default judgment against a defendant, like a

dismissal       with    prejudice        against     a    plaintiff,         is       a    severe

sanction that may be appropriate when the disobedient party has

acted in bad faith and demonstrated a flagrant disregard for the

court    and     the    discovery     process.           E.g.,    Shortz      v.          City    of


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Tuskegee, Ala., 352 F. App’x 355, 359 (11th Cir. 2009) (per

curiam).      A default judgment against a defendant is a drastic

sanction, and it should generally only be implemented “as a last

resort, when: (1) a party's failure to comply with a court order

is a result of willfulness or bad faith; and (2) the district

court    finds    that   lesser      sanctions    would    not    suffice.”      Id.

(discussing sanction of dismissing plaintiff’s complaint with

prejudice) (citing Malautea v. Suzuki Motor Co., 987 F.2d 1536,

1542 (11th Cir. 1993)).              In Shortz, for example, the Eleventh

Circuit affirmed the district court’s dismissal with prejudice

of a plaintiff’s complaint because the plaintiff purposefully

disregarded court orders for him to respond to the defendant’s

written discovery requests and appear at a deposition.                        Id. at

358-59.

        The MMI Defendants’ conduct here extends beyond failing to

respond to a court order.               In addition to their failure to

comply with the Court’s order, they affirmatively lied that they

had provided complete information in response to the Court’s

order, and they did so for the express purpose of misleading the

parties and the Court.          It is no wonder that the MMI Defendants

do not now seriously dispute that they willfully and in bad

faith failed to comply with the Court’s 2008 orders to disclose

to   Iguana      the   names   and    addresses    of     all    the   parties   who

received the infringement letter.                 Their conduct displayed a


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lack of respect for the Court and the entire litigation process,

which depend on the parties to comply with Court orders and

demonstrate candor in response to directives from the Court.

The MMI Defendants were not mistaken about the Court’s order.

Their response to it was not equivocal or ambiguous; nor was it

attributable to a lack of recollection.               In colloquial terms,

they “flat out lied.”             The Court can think of few types of

conduct that would be more egregious and harmful to the judicial

process than knowingly lying in response to a Court order.                  Such

conduct cannot be condoned.            Merely slapping the MMI Defendants

on   the    wrist   with    an    imposition   of   attorney’s     fees   would

diminish the seriousness of the misconduct.

      The    response      of    the   MMI   Defendants’    attorneys,      upon

learning that their clients lied, is commendable, but the Court

would expect no less from members of the Bar.              The fact that the

attorneys acted admirably does not excuse what their client did.

Moreover, any attempt at this time to diminish the seriousness

of the conduct rings hollow.            The publication of the letter is

at   the    heart   of     this    litigation.       The   Court    found     it

sufficiently significant that it ordered the MMI Defendants to

disclose the information early in the litigation.                  The failure

to disclose the information undoubtedly altered the discovery

process and likely has expanded this litigation.                 A price must




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be paid, and it must exceed the mere out of pocket cost created

by the misconduct.

        This       case    cries    out    for        the   ultimate      sanction.         The

president of MMI and FMSC thought he was above the law.                                      He

could lie when it suited his financial interests to do so.                                   He

felt    no     duty       of   honesty     to    the     Court     or    even    to   his   own

attorneys.          His conduct demonstrates a complete lack of respect

for the Court and the judicial system which it represents.                                   He

must be called to account.                      The minimum sanction necessary to

redress this flagrant and dishonest disregard for the Court’s

order is the ultimate sanction.                       Accordingly, the answers of the

MMI Defendants are stricken, and they are placed in default as

to liability.             They shall be permitted to contest the amount of

damages for which they should be held liable.

III. Kilpatrick Defendants’ Motion to Compel

        The Kilpatrick Defendants brought their motion to compel

because they contend that Iguana has not adequately responded to

their     document         requests.         The       Court     previously       warned    the

parties        that       discovery        abuses        would     not      be    tolerated.

Accordingly,            Iguana     shall    not        be   permitted       to    offer     any

documents that it did not produce before discovery closed on

August       12,    2011.        The     Kilpatrick         Defendants      focus     on    four

categories         of     documents:       (a)    documents        related       to   separate

litigation          involving          Iguana         and    its        supplier,      Patriot


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Performance Materials, Inc. (“Patriot”); (b) documents produced

for     the    first    time    at    the    30(b)(6)       deposition      of    Iguana

representative Ernie Stewart; (c) Iguana’s financial documents;

and   (d)      documents    related     to    the    expert     report      of   Patrick

Malyszek.        The Court addresses each issue below.

        A.     Patriot Litigation Documents

        Iguana     argues   that      Defendants’         actions    caused      Iguana’s

supplier, Patriot, to stop working on the production of Iguana’s

products, thus harming Iguana.               Iguana pursued a separate breach

of contract action against Patriot.                   The Kilpatrick Defendants

requested “all non-privileged documents related to the Patriot

Litigation . . . including but not limited to all pleadings,

correspondence,         discovery,      document[]         productions,       deposition

transcripts,       deposition        exhibits,      and    emails    related      to   the

case.”        Kilpatrick Defs.’ Reply in Supp. of Mot. to Compel Ex.

A, Pl.’s Resps. to Kilpatrick Defs.’ Doc. Reqs. ¶ 25, ECF No.

168-1 at 7-8.

        Iguana     apparently    does       not   dispute     that    the     documents

sought are discoverable and should be produced.                       Rather, Iguana

contends that it has already produced the documents via a web-

based    program       called   CaseWebs.         Iguana’s     counsel    represented

that “to the extent [Iguana’s counsel] has any documents from

the Patriot cases, they are . . . available on CaseWebs.”                          Pl.’s

Resp. to Kilpatrick Defs.’ 2d Mot. to Compel 4, ECF No. 165.


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     The    Kilpatrick       Defendants         acknowledge       that    some    of   the

Patriot     litigation       documents          are     available         on    CaseWebs.

According     to   the     Kilpatrick       Defendants,          CaseWebs       does   not

contain the full depositions and exhibits for all depositions

conducted in the Patriot litigation, including the depositions

of Mr. Stewart, Ms. Redfern and Mr. Powell.                       CaseWebs also does

not contain all of the written discovery requests and responses

for the Patriot litigation, nor does it contain correspondence

related to the Patriot litigation.                     The Court recognizes that

Iguana’s counsel has represented that he produced all of the

documents he received from his client, but the relevant inquiry

is not whether Iguana’s counsel has the documents but whether

Iguana has possession, custody or control of the documents.

     Within seven days of the date of this Order, Iguana shall

produce     all    Patriot       litigation           documents       that      have   not

previously    been    produced,     including          the    full    depositions      and

exhibits     for     all     depositions          conducted          in   the     Patriot

litigation, all of the written discovery requests and responses

for the Patriot litigation, and non-privileged correspondence

related to the Patriot litigation.                    Iguana shall also produce a

privilege    log     of    any   documents       that     are    responsive       to   the

Kilpatrick    Defendants’        request    but       which     Iguana    contends     are

privileged.




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      B.     Documents Produced at 30(b)(6) Deposition

      The    Kilpatrick          Defendants          asked     Iguana      to    produce           all

documents        in    support       of    Iguana’s     claim       that    the       Kilpatrick

Defendants caused Iguana to lose a government contract, as well

as   all    documents       that       relate      to   Iguana’s         claim    of    damages.

Kilpatrick Defs.’ Reply in Supp. of Mot. to Compel Ex. A, Pl.’s

Resps. to Kilpatrick Defs.’ Doc. Reqs. ¶¶ 18, 46, ECF No. 168-1

at   6,     12.          During        the    30(b)(6)        deposition         of     Iguana’s

representative, Earnest Stewart, Stewart testified that Iguana

is   seeking      damages       in     connection       with    a    contract         concerning

individual combat shelters.                  According to Kilpatrick, Iguana had

not previously identified the individual combat shelter contract

as   one    it    lost    due     to      Defendants’        conduct,      and    it    had        not

produced any documents regarding that contract.                             Iguana does not

appear to contest that such documents are discoverable.

      Stewart did bring to his deposition on July 6, 2011 a DVD

containing        81     files       (nearly         10,000    pages)       that        had       not

previously been produced to Defendants, and he promised at his

deposition        to     produce       additional        documents         related          to    the

government contracts.                According to Iguana, the documents were

not “previously available” because they were on old computers

that had been retired and were in storage.                                According to the

Kilpatrick        Defendants,             Iguana     refused        to    agree        to        allow

Defendants        to    reconvene          Stewart’s     deposition         so    they           could


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question     him     on    the     documents          that   were    produced     at    his

deposition.

       Defendants      served         their     written      discovery       requests     on

Iguana in February 2011.                 Iguana initially responded to those

requests     in    April     2011.        After       Defendants     filed    a   previous

motion to compel, the parties agreed to a production deadline of

June 24, 2011.        Then, on July 6, 2011, Iguana’s witness brought

responsive        documents      to    his     deposition.          Iguana    refused     to

permit Defendants to reconvene Stewart’s deposition after they

had   an    opportunity       to      review    the    documents.       Iguana     made    a

supplemental production on August 19, 2011—after the close of

fact discovery.            Iguana’s only excuse for not producing the

documents sooner is that they were stored in old computers that

were in storage.           Iguana offers no explanation for its refusal

to permit Defendants to reconvene the 30(b)(6) deposition.

       Under these circumstances, the Court concludes that Iguana

should not be permitted to rely upon at trial or in opposition

to    any   motion     any    of       the     documents     it     first    produced     at

Stewart’s July 6 deposition, including documents related to the

individual combat shelter contract.                      Also, Iguana shall not be

permitted to rely upon any of the documents it first produced

after the close of discovery.                       Defendants may rely on these

documents if they choose to do so.




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       C.    Financial Documents

       The   Kilpatrick     Defendants    asked   Iguana   to    produce   all

documents that relate to Iguana’s claim of damages and all of

Iguana’s financial statements.           Kilpatrick Defs.’ Reply in Supp.

of Mot. to Compel Ex. A, Pl.’s Resps. to Kilpatrick Defs.’ Doc.

Reqs. ¶¶ 46-47, ECF No. 168-1 at 12.           In response, Iguana stated

that it had already produced all of the documents relating to

its claim of damages and that the financial statements were not

relevant.     Id.     Iguana did ultimately produce, after the close

of fact discovery, profit and loss statements for 2007-2010 but

did not produce profit and loss statements for 2004-2006.                  The

Kilpatrick Defendants contend that such documents are relevant

because Iguana began producing bednets in 2004.                 As discussed

above, Iguana shall not be permitted to rely upon any of the

documents it first produced at Stewart’s July 6 deposition, and

it shall not be permitted to rely on any documents that it

produced after the close of discovery.

       D.    Expert Report of Patrick Malyszek

       The Kilpatrick Defendants contend that the expert report of

Iguana’s expert, Patrick Malyszek, does not comply with Federal

Rule    of   Civil    Procedure    26(a)(2)(B)(ii).        The     Kilpatrick

Defendants did not raise this issue in their motion to compel;

they    raised   it   for   the   first    time   in   their    reply   brief.

Accordingly, the issue is not properly before the Court.                If the



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Kilpatrick Defendants raise this issue in a motion to exclude

Malyszek’s testimony, then the Court will consider the issue

when it considers that motion.

      E.    Effect of the Court’s Ruling on Pending Motions

      Within seven days of the date of this Order, the Kilpatrick

Defendants shall file with the Court a short brief explaining

how the Court’s rulings in this Order affect the pending motions

for summary judgment and motions to exclude testimony.                          The

brief, which shall not exceed ten pages, should include a list

of   exhibits     that   were    not    timely     produced   but    which   Iguana

relied on in its briefs and fact statements.                    The list should

include the exhibit number, a brief description of the exhibit,

the docket number of the exhibit, and the page number and/or

paragraph number where the exhibit is cited.                  Should Iguana wish

to file a response, it may do so within fourteen days of the

date of this Order, and its brief shall not exceed ten pages.

                                      CONCLUSION

      For   the    reasons      set    forth     above,   Iguana’s    motion    for

sanctions related to the deposition of Randall Lanham (ECF No.

153) is denied.          Iguana’s motion for sanctions related to the

belated disclosure of certain evidence by the MMI Defendants

(ECF No. 158) is granted, and the MMI Defendants are placed in

default as to liability.              The Kilpatrick Defendants’ Motion to

Compel (ECF No. 156) is granted to the extent set forth above.


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IT IS SO ORDERED, this 28th day of October, 2011.

                                   S/Clay D. Land
                                            CLAY D. LAND
                                    UNITED STATES DISTRICT JUDGE




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